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10
11                        UNITED STATES DISTRICT COURT
12                      SOUTHERN DISTRICT OF CALIFORNIA
13
   STRATEGIC OPERATIONS, INC.,             Case No. 3:17-cv-01539-JLS (NLS)
14 a California Corporation,
                                           PLAINTIFF’S OPPOSITION TO
15                  Plaintiff,             DEFENDANTS’ MOTION TO
                                           DISMISS CLAIMS AGAINST
16 v.                                      DEFENDANTS BREA K. JOSEPH
                                           AND KASEY EROKHIN
17 BREA K. JOSEPH, an Individual;
   KASEY EROKHIN, an Individual;
18 KBZ FX, INC., a California
   Corporation; and DOES 1-10,
19 inclusive,
20                  Defendant.
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 1          Plaintiff Strategic Operations, Inc.’s (“StOps”) Second Amended Complaint
 2 (D26, “SAC”) includes numerous allegations about specific infringing conduct by
 3 individual Defendants Brea K. Joseph and Kasey Erokhin. Among other things, those
 4 allegations cover Joseph’s and Erokhin’s conduct in developing the accused trauma
 5 training products that took place before May 2017, when corporate co-defendant KBZ
 6 FX, Inc. was first created. Up until that time, Joseph merely used “KBZ FX” as a
 7 fictitious trade name. Thus, in repeatedly alleging that “KBZ FX,” not just KBZ FX,
 8 Inc., committed acts of infringement (in addition to the plethora of allegations
 9 identifying Joseph and Erokhin by name), StOps has explicitly alleged that these
10 individual defendants committed multiple acts of infringement. At this early stage of
11 the case, particularly when discovery has not yet begun, the factual, nonconclusory
12 allegations in StOps’ complaint must be accepted as true.
13          But, Joseph’s and Erokhin’s Motion to Dismiss (D28) under Fed. R. Civ. P
14 12(B)(6) largely ignores those allegations. Instead, the motion appears to play on the
15 admittedly confusing similarity between the name of the corporate defendant in this
16 case (KBZ FX, Inc.) and Joseph’s previous fictitious trade name (KBZ FX) to argue
17 that StOps has only alleged infringement by KBZ FX, Inc. That is simply incorrect, as
18 StOps’ multiple allegations against Joseph and Erokhin by name and against KBZ FX,
19 not just KBZ FX, Inc., make clear.
20          Moreover, because StOps has properly alleged infringement by Joseph and
21 Erokhin, including when Joseph was merely using the trade name, those actions do not
22 fall under the protection of any corporate umbrella. As a consequence, Joseph’s and
23 Erokhin’s sole argument for dismissal that StOps’ claims against them individually—
24 that they cannot be individually liable for the actions of their corporation—misses the
25 mark. Fundamentally, Joseph and Erokhin can, and must, be held accountable for the
26 actions they took as individuals, particularly before KBZ FX, Inc. even existed.
27          For these reasons, there is no basis to dismiss StOps’ claims against Joseph and
28 Erokhin and their motion should be denied.

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 1        I.      FACTUAL BACKGROUND
 2          Defendants Joseph and Erokhin were employed by StOps as injury simulation
 3 makeup artists until June 21, 2011. ((Second Amended Complaint (D26, “SAC”) ¶¶18–
 4 19, 23; KBZ Answer to Second Amended Complaint (D34, “KBZ Answer”) ¶¶18–19,
 5 23).) According to the KBZ FX website, KBZ FX was founded that very year. (SAC
 6 ¶¶6–7; KBZ Answer ¶¶6–7).) From 2011 until sometime in May of 2017, when KBZ
 7 FX Inc. was finally incorporated, defendant Joseph operated her competing business
 8 under the fictitious trade name “KBZ FX.” (SAC ¶¶6–7; KBZ Answer ¶¶6–7).) Within
 9 no more than one month after it was incorporated, KBZ FX provided training services
10 using the accused product at the United States Marine Corps’ Camp Pendleton. (SAC
11 ¶ 28 and Ex. 6.) SAC Exhibits 7–9, all dating from before 2017, show assembled or in-
12 process versions of the accused product, confirming that infringing acts of at least
13 making the accused product occurred before the corporate defendant in this case even
14 existed.
15       II.      LEGAL STANDARD
16          In order to survive on a motion to dismiss under Rule 12, “a complaint must
17 contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
18 plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell
19 Atlantic Corp. v. Twombly, 550 U.S. 544, 570(2007); see also Fed. R. Civ. P. 12(b)(6).
20 A facially plausible claim “allows the court to draw the reasonable inference that the
21 defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556).
22 A facially plausible claim need not be determined to be probable, but simply raise
23 “more than a sheer possibility that a defendant has acted unlawfully.” Id. (citing
24 Twombly, 550 U.S. at 556). This determination calls for a “context-specific” analysis
25 involving the Court’s “judicial experience and common sense.” Id. at 679.
26          This context-specific evaluation must recognize that direct evidence of some
27 facts may be distinctively in the defendant’s possession, requiring that the threshold
28 standard of plausibility be applied to more circumstantial evidence. See Matrixx

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 1 Initiatives, Inc. v. Siracusano, 563 U.S. 27, 49 & n.15 (2011) (holding, even under a
 2 special statutory heightened pleading standard, that plaintiff’s claim could not be
 3 dismissed where it pleaded facts “sufficient to render the inference of scienter at least
 4 as compelling as the inference” of innocent conduct (quotation marks and citation
 5 omitted)).
 6          In patent cases, the law of the regional circuit governs procedural issues of law.
 7 K-Tech Telecomms., Inc. v. Time Warner Cable, Inc., 714 F.3d 1277, 1282 (Fed. Cir.
 8 2013). In the Ninth Circuit, to be entitled to the presumption of truth, a complaint “must
 9 contain sufficient allegations of underlying facts to give fair notice and to enable the
10 opposing party to defend itself effectively.” Starr v. Baca, 652 F.3d 1202, 1216 (9th
11 Cir. 2011), cert. denied, 132 S. Ct. 2101 (2012). The Court will grant leave to amend
12 unless it determines that no modified contention “consistent with the challenged
13 pleading . . . [will] cure the deficiency.” DeSoto v. Yellow Freight Sys., Inc., 957 F.2d
14 655, 658 (9th Cir. 1992) (quoting Schreiber Distrib. Co. v. Serv-Well Furniture Co.,
15 806 F.2d 1393, 1401 (9th Cir. 1986)).
16
17      III.      ARGUMENT
18          Joseph’s and Erokhin’s motion to dismiss rests on two premises: (1) that StOps
19 has not alleged any acts of infringement by defendants Joseph and Erokhin acting in
20 their personal capacity; and (2) that for any acts by “KBZ FX” (and here, Defendants’
21 motion appears to make no distinction between incorporated defendant KBZ FX, Inc.
22 and the prior fictitious trade name under which individual defendants Joseph and
23 Erokhin operated), Joseph and Erokhin are entitled to protection from individual
24 liability under the “corporate veil.” Neither premise is supported by the pleadings, and
25 consequently, dismissal of StOps’ claims against these defendants in their individual
26 capacities is not warranted.
27          At this stage of the case, no Discovery has been provided as to the precise timing
28 of the development, offer for sale, initial use, or any other details about when the

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 1 infringing activities began. Nevertheless, it is more than plausible that in order to make
 2 use of Defendants’ infringing product in June 2017—the month following KBZ FX,
 3 Inc.’s incorporation—the infringing acts of “making” that product must have begun
 4 before KBZ FX, Inc. existed. To the extent those preliminary infringing acts were
 5 performed by either of the individual defendants when defendant Joseph was merely
 6 operating under the “KBZ FX” fictitious trade name, Defendants point to no authority
 7 that suggests those activities fall within the corporate veil, and the individual
 8 defendants are liable for at least that pre-incorporation conduct.
 9          In that respect, StOps’ allegations against Joseph and Erokhin stand in stark
10 contrast to those at issue in this Court’s decision in Footbalance System Inc. v. Zero
11 Gravity Inside, Inc. et al., Case No. 3:15-cv-01058-JLS-RNB (S.D. Cal. Oct. 4,
12 2016), Order Granting in Part and Denying in Part Motion to Dismiss. In
13 Footbalance, the plaintiff’s plead allegations referred only to sales of the accused
14 products within the period after incorporation of the corporate defendant, and only in
15 its brief opposing the motion to dismiss did the plaintiff allege that prior acts of
16 manufacturing the product also constituted infringement. Id. at 9. In contrast here,
17 StOps’ complaint explicitly alleges as a factual matter that:
18               “Joseph and Erokhin recently developed a human-worn trauma training
19                 product that is identified on KBZ FX’s website and Instagram account
20                 as its ‘trauma training kit’ and described as ‘a human body replica suit
21                 used to perform actual treatments of for medical training” SAC ¶ 24.
22                 StOps’ pleadings are further supported by Exhibits 7–9 to the SAC
23                 showing, in personal Instagram feeds, the existence of the fully-made
24                 and in-process accused product prior to 2017, when KBZ FX, Inc. was
25                 incorporated;
26               “Joseph and Erokhin have and continue to induce infringement of the
27                 ’403 patent by actively and knowingly inducing others to make, use, sell
28                 and or offer for sale the TTK” and “Joseph and Erokhin developed the

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 1                 TTK knowing and specifically intending the TTK to copy Stops Cut
 2                 Suit.” SAC ¶ 45;
 3               “Joseph and Erokhin have and continue to contributorily infringe the
 4                 ’403 patent” and “the TTK was especially made by Joseph and Erokhin
 5                 to look and function the same as StOps’ Cut Suit and … Joseph and
 6                 Erokhin knowingly and intentionally incorporated the same components
 7                 and features of StOps’ Cut Suit into the TTK, despite knowing that the
 8                 components and features are covered by the inventions claimed in the
 9                 [asserted patents],” including “among other components, a vest for
10                 covering the torso of a person that includes an artificial rib cage and
11                 prosthetic human organs ….” SAC ¶ 46–47.
12          Similarly, StOps’ SAC includes numerous allegations of infringement attributed
13 to “KBZ FX” generally, which includes Joseph’s and Erokhin’s actions prior to any
14 incorporation of KBZ FX, Inc. when Joseph was operating under the “KBZ FX”
15 fictitious trade name. SAC ¶¶ 39–41. Defendants’ Motion mischaracterizes KBZ FX
16 as a corporate entity: “StOps recognizes and alleges that it is the corporate entities
17 KBZ FX and/or KBZ FX, Inc. that ‘make, use, offer to sell and/or sell the TTK.’” D28-
18 1 at 1 (emphasis in original). While KBZ FX, Inc. was incorporated as of May 2017,
19 KBZ FX was never incorporated and was nothing more than a trade name under which
20 Joseph operated. SAC ¶23. As such, the conduct of Joseph and Erokhin while Joseph
21 operated under the fictitious trade name “KBZ FX” is directly attributable to those
22 individual Defendants.
23          Despite the clear attribution of these acts to Joseph and Erokhin and the
24 evidence already presented by StOps with the SAC showing that at least their
25 development activities took place before KBZ FX, Inc. even existed, Defendants
26 appear to assume, that all of the alleged acts of infringement should be attributed to
27 KBZ FX, Inc. Defendants provide no basis for such an assumption, nor would such
28 evidence be appropriate in evaluating the sufficiency of StOps’ pleadings. But, even

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 1 if Defendants’ assumption is correct, to invoke the protection of KBZ FX, Inc.’s
 2 “corporate veil,” Defendants would have to show that both Joseph and Erokhin were
 3 officers of that corporate entity. At least for defendant Erokhin, such a showing
 4 would seem to directly contradict Defendants prior representations to this Court that
 5 Erokhin “was never involved in KBZ FX, Inc., as she resigned in 2016 prior to the
 6 May 2017 formation of KBZ FX, Inc.”
 7            With no applicable corporate veil, Joseph’s and Erokhin’s acts of infringement
 8 fall within the general rule that “‘Patent infringement is a tort,’ … and ‘[i]n general, a
 9 corporate officer is personally liable for his tortious acts, just as any individual may be
10 liable for a civil wrong.” Wordtech Sys. Inc. v. Integrated Network Solns., Inc., 609
11 F.3d 1308, 1313 (Fed. Cir. 2010), citing Mars, Inc. v. Coin Acceptors, Inc., 527 F.3d
12 1359, 1365 (Fed.Cir.2008) and Hoover Group, Inc. v. Custom Metalcraft, Inc., 84 F.3d
13 1408, 1411 (Fed.Cir.1996)).
14      IV.         CONCLUSION
15            For the foregoing reasons, individual defendants Joseph’s and Erokhin’s motion
16 to dismiss should be denied.
17
     Dated:        September 19, 2019             TROUTMAN SANDERS LLP
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19
                                                  By:/s/ Charanjit Brahma
20                                                    Charanjit Brahma
21                                                   Attorneys for Plaintiff
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